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 5
     Attorneys for Wesley H. Avery,
 6   Chapter 7 Trustee
 7                                UNITED STATES BANKRUPTCY COURT
 8                                CENTRAL DISTRICT OF CALIFORNIA
 9                                        LOS ANGELES DIVISION
10   In re                                                  )    Case No. 2:19-bk-17312-SK
                                                            )
11   LINDA ROTH aka                                         )    Chapter 7
     LINDA ROTH BURRELL,                                    )
12                                                          )    TRUSTEE'S REPLY TO DEBTOR'S
                               Debtor.                      )    OBJECTION TO APPLICATION TO
13                                                          )    EMPLOY REAL ESTATE AGENT
                                                            )    AND SUPPLEMENT TO
14                                                          )    APPLICATION TO EMPLOY
                                                            )    KELLER WILLIAMS REALTY AS
15                                                          )    REAL ESTATE BROKER
                                                            )
16                                                          )    DATE:   October 23, 2019
                                                            )    TIME:   9:00 a.m.
17                                                          )    CTRM:   1575
                                                            )            255 E. Temple St.
18                                                          )            Los Angeles, CA
19           TO THE HONORABLE SANDRA KLEIN, UNITED STATES BANKRUPTCY JUDGE,
20   UNITED       STATES        TRUSTEE,        DEBTOR,     DEBTOR'S     COUNSEL,   AND       OTHER
21   INTERESTED PARTIES:
22           Wesley       H.    Avery,       Chapter    7     Trustee    ("Trustee")    for    the
23   bankruptcy estate (the "Estate") of debtor Linda Roth aka Linda
24   Roth Burrell ("Debtor") in the above-captioned case (the "Case")
25   hereby files Trustee's Reply to Debtor's Objection to Application
26   to    Employ      Real      Estate       Agent    (the     "Objection")   [dkt.    33]    and
27   Supplement to Application to Employ Keller Williams Realty (the
28   "Application") [dkt. 31] (the "Reply and Supplement").


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 1                                           I.     INTRODUCTION
 2           The relief sought in the Application meets the standards set
 3   forth      in     11     U.S.C.       §327     for       employment    of    a   real   estate
 4   professional to assist Trustee in the Case.                           Further, pursuant to
 5   11 U.S.C. §704, Trustee has a duty to collect and reduce to money
 6   the property of the Estate.
 7           The Objection fails to state any justifiable basis for denying
 8   the Application.                Debtor simply filed the Objection to delay
 9   Trustee's administration of the real property commonly known as
10   3853 Mount Vernon Drive, Los Angeles, California 90008 (the "Real
11   Property") that is an asset of the Estate.
12           The sole reason for the Objection is that Debtor filed, after
13   filing the Objection, the Notice of Motion and Motion to Dismiss
14   Chapter 7 Bankruptcy (the "Motion to Dismiss") [dkt. 35].                                    The
15   hearing on the Motion to Dismiss is noticed for October 23, 2019,
16   concurrently with the hearing on the Application.
17                   II.      SUPPLEMENTAL INFORMATION FOR APPLICATION
18           The Office of the United States Trustee (the "OUST") inquired
19   of Trustee regarding certain details related to the Application and
20   administration of the Real Property, including the listing price of
21   the Real Property that was contained in the listing agreement
22   attached as an exhibit to the Application but not in the main text
23   of the Application, information about the "creditor body" in the
24   Case, whether a claims bar date has been set, and whether Trustee
25   estimates        that      there      will     be    a    "meaningful"      distribution     to
26   creditors of the Estate from the sale of the Real Property.
27           The listing price is $1,000,000.00, as stated in the listing
28   agreement,         as    communicated          to    the    OUST,     and   as   discussed    in
                                                         2.
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 1   Trustee's Opposition (the "Opposition") [dkt. 44] to Debtor's
 2   Motion to Dismiss Chapter 7 Bankruptcy [dkt. 43].
 3           Trustee also communicated to the OUST and discussed in the
 4   Opposition, that there is approximately $200,000.00 of equity in
 5   the Real Property, that there are both secured and unsecured
 6   creditors in the Case that Trustee expects to be paid in full from
 7   sale of the Real Property, that Trustee filed a notice of asset
 8   case, and that two creditors have filed claims in the Case that
 9   total $31,999.50.
10                                           III.   CONCLUSION
11           Trustee respectfully requests that the Court overrule the
12   Objection, grant the Application, and grant such other relief as is
13   appropriate and necessary (including, but not limited to, direction
14   to Debtor and her family members that reside with her in the Real
15   Property regarding their cooperation with schedules for open houses
16   and appointments for Keller Williams Realty ("Broker") to show the
17   Real Property and for subsequent appointments for inspections and
18   appraisals requested by potential buyers and overbidders) for
19   Trustee to market and sell the Real Property with the assistance of
20   Broker.
21   DATED: October 15, 2019                        ZAMORA & HOFFMEIER
                                                    A Professional Corporation
22

23

24                                                  By:  /s/ Nancy Hoffmeier Zamora
                                                       Nancy Hoffmeier Zamora
25                                                  Attorneys for Wesley H. Avery,
                                                    Chapter 7 Trustee
26

27

28
                                                     3.
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

U.S. Bank Tower, 633 West 5th Street, Suite 2600, Los Angeles, CA 90071

A true and correct copy of the foregoing document entitled (specify):
TRUSTEE'S REPLY TO DEBTOR'S OBJECTION TO APPLICATION TO EMPLOY REAL ESTATE AGENT AND
SUPPLEMENT TO APPLICATION TO EMPLOY KELLER WILLIAMS REALTY AS REAL ESTATE BROKER
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On October
15, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

U.S. Trustee: United States Trustee, ustpregion16.la.ecf@usdoj.gov
Trustee: Wesley H. Avery, wes@averytrustee.com, C117@ecfcbis.com; lucy@averytrustee.com,
Isabel@averytrustee.com
Debtor’s Counsel: Richard T. Baum, rickbaum@hotmail.com, rickbaum@ecf.inforuptcy.com
Creditor’s Counsel: Erica T Loftis Pacheco erica.loftispacheco@bonialpc.com

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On October 15, 2019, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Debtor: Linda Roth, 3853 Mount Vernon Dr., Los Angeles, CA 90008
Proposed Broker: Brian Parsons, Keller Williams Realty, 251 South Lake, #150, Pasadena, CA 91101
U.S. Trustee: Jill Sturdevant, Esq., Office of the United States Trustee, 915 Wilshire Blvd., Suite 1850, Los Angeles, CA
90017
Judge: The Honorable Sandra R. Klein, U.S. Bankruptcy Court, Los Angeles Division, 255 E. Temple Street, Suite 1582,
Los Angeles, CA 90012

                                                                                            Service information continued on attached page


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on October 15, 2019, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 October 15, 2019                             Cynthia Casas                                     /s/ Cynthia Casas
 Date                                         Printed Name                                      Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
